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   1   Christopher S. Morris, Esq., SBN 163188
       cmorris@morrislawfirmapc.com
   2   Danielle R. Pena, Esq., SBN 286002
       dpena@morrislawfirmapc.com
   3   MORRIS LAW FIRM, APC
       501 West Broadway, Suite 1480
   4   San Diego, CA 92101
       Telephone: (619) 826-8060
   5   Facsimile: (619) 826-8065
   6   Attorneys for Michelle Moriarty, as
       Successor in Interest and Guardian Ad Litem
   7   to Alexandria, Elijah and Eternity Moriarty
   8

   9                     IN THE UNITED STATES DISTRICT COURT

  10                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA

  11 MICHELLE MORIARTY, an individual,            Case No.: 3:17-cv-01154-LAB-AGS
     as Successor in Interest to the ESTATE
  12 OF HERON MORIARTY and as                     PLAINTIFFS’ SUPPLEMENTAL
     GUARDIAN AD LITEM to                         PRETRIAL DISCLOSURES
  13 ALEXANDRIA MORIARTY, ELIJAH
     MORIARTY, and ETERNITY
  14 MORIARTY,

  15     Plaintiffs,

  16         v.

  17 COUNTY OF SAN DIEGO, DR.
     ALFRED JOSHUA, individually, and
  18 DOES 1 through 10, Inclusive,

  19   Defendants.

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       PLAINTIFFS’ SUPP PRETRIAL DISCLOSURES                 3:17-cv-01154-LAB-AGS
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   1         Pursuant to Federal Rule of Civil Procedure 26, Plaintiffs hereby supplement
   2   their Pretrial Disclosures as identified below.
   3   I.    SUPPLEMENTAL WITNESS TO BE CALLED AT TRIAL BY
   4         PLAINTIFFS:
   5         1)     Jeannette Werner
   6         Ms. Werner contacted Plaintiffs’ counsel on July 6, 2020. Plaintiffs’ counsel
   7   returned her phone call on July 13, 2020. During that conversation, Mr. Werner
   8   stated she is a county employee and has personal knowledge of facts at-issue is this
   9   litigation. That same day, Plaintiffs’ counsel disclosed to Defense counsel Ms.
  10   Werner’s identity and a summation of her statement.
  11         Plaintiffs reserve the right to further supplement these disclosures should new
  12   information come to the attention of Counsel.
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                                               Respectfully submitted,
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                                               MORRIS LAW FIRM, APC
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       Dated: July 15, 2020                     s/ Danielle R. Pena
  17                                           Christopher S. Morris, Esq.
                                               cmorris@morrislawfirmapc.com
  18                                           Danielle R. Pena, Esq.
                                               dpena@morrislawfirmapc.com
  19                                           Attorneys for Attorneys for Michelle
  20                                           Moriarty, as Successor in Interest and
                                               Guardian Ad Litem to Alexandria, Elijah and
  21                                           Eternity Moriarty
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       PLAINTIFFS’ SUPP PRETRIAL DISCLOSURES                    3:17-cv-01154-LAB-AGS
